         Case 3:13-cr-04551-L         Document 82         Filed 04/01/16        PageID.199        Page 1 of 1
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                                   UNITED STATES DISTRICT COUR
                                 SOUTHERN DISTRICT OF CALIFO
                                                               A                                  ~PR 0 1 20~~IJ
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                                                                                            SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                                                   QY                      Co. DEPUTY
                                                                  Case No. 13CR4551-L

                                             Plaintiff,
                         vs.
                                                                  JUDGMENT OF DISMISSAL
JORGE DANIS AMAYA JR. (1),

                                          Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
D
     granted the motion of the Government for dismissal of this case, without prejudice; or

D    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, without prejudice; or

D    the Court has granted the motion of the defendant for a judgment of acquittal; or

D    a jury has been waived, and the Court has found the defendant not guilty; or

D    the jury has returned its verdict, finding the defendant not guilty;

     of the offense( s) as charged in the Indictment/Information:
     8:1324(a)(1)(A)(ii) and (v)(I); 8:1324(b), 18:982(a)(6) and 982(b), 28:2461(c) - Conspiracy to Transport Illegal
     Aliens; Criminal Forfeiture and 8:1324(a)(1)(A)(ii) and (v)(II); 8:1324(b), 18:982(a)(6) and 982(b), 28:2461(c)­
     Transportation of Illegal Aliens and Aiding and Abetting; Criminal Forfeiture




Dated:    4/1/2016
